      Case 4:17-cr-00651 Document 438 Filed on 02/24/20 in TXSD Page 1 of 1
                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                           February 24, 2020
                              UNITED STATES DISTRICT COURT                                 David J. Bradley, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §     CRIMINAL DOCKET 4:17-CR-651-02
      versus                                      §
                                                  §            JUDGE GRAY MILLER
GIOV ANI ALECIO                                   §

   ORDER ON DEFENDANT'S MOTIO                    TO AMEND CONDITIONS OF RELEASE

       Alecia's motion to amend his conditions ofrelease is:


                                          Q)
       Alecia ' s conditions ofrelease are amended as follows : 1) Alecia's travel is restricted to the

counties within the Houston Division of the Southern District of Texas, 2) Alecio can have

unsupervised visits with minors who are members of family, and 3) Alecio can use a cell phone, a

computer, and the internet subject to monitoring by the Pretrial Services office if Alecia ' s

supervising officer deems such monitoring necessary.

       All other conditions of release remain in effect.




Signed on February   J lf1:ro20.
